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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                     CR 15-82-GF-BMM-01

                  Plaintiff,                   FINDINGS AND
                                               RECOMMENDATIONS TO
       vs.                                     REVOKE DEFENDANT’S
                                               SUPERVISED RELEASE
 PAIGE LARANN DEMARCE,

                  Defendant.


                                     I. Synopsis

      The United States accused Ms. Demarce of violating her conditions of

supervised release by 1) possessing a controlled substance, 2) using a controlled

substance, 3) failing to report for substance abuse testing, 4) failing to participate

in substance abuse treatment, and 5) failing to pay restitution. She admitted to

violations 1 through 4, but denied violation 5. Her supervised release should be

revoked. She should be sentenced to five months in custody, with twenty-eight

months of supervised release to follow. Ms. Demarce should spend the first two

months of her supervised release in a treatment facility as determined by the

Probation Office.




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                                     II. Status

      On June 9, 2016, United States District Court Judge Brian Morris sentence

Ms. Demarce to seven days in custody, with thirty-six months of supervised release

to follow, and $31,836.37 in restitution, after Ms. Demarce pleaded guilty to

Theft/Embezzlement/Misapplication by a Bank Officer. (Doc. 62).

      On September 25, 2016, the United States Probation Office filed a Report on

Offender Under Supervision notifying the Court that Ms. Demarce failed to

comply with substance abuse testing and treatment and used a prohibited substance

on two occasions. (Doc. 82). The Court allowed her to continue her supervised

release.

      On December 14, 2016, the Probation Office filed a Request for Modifying

the Conditions or Term of Supervision to address her continued refusal to comply

with substance abuse testing by extending her monitoring program for two months.

(Doc. 83). Ms. Demarce did not object, but failed to secure a phone, and therefore

the Probation Office was unable to implement the modification.

      On January 9, 2017, the United States Probation Office filed a Petition for

Warrant for Offender Under Supervision due to Ms. Demarce’s refusal to comply

with substance abuse testing and treatment, as well as her failure to pay restitution.

(Doc. 84). Ms. Demarce was sentenced to three months in custody, with thirty-

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three months of supervised release to follow.

      Petition

      On July 27, 2017, the United States Probation Office filed a Petition for

Warrant for Offender Under Supervision. The petition alleged that on May 9,

2017, Mr. Demarce supplied a positive urine sample for opiates and

methamphetamine, and admitted both verbally and in writing to using both

methamphetamine and pain medication without a prescription. The petition further

alleged that Ms Demarce failed to report for substance abuse testing on May 12,

18, and 31, 2017, and June 8, 14 and 26, 2017. The petition also alleged that Ms.

Demarce failed to report for substance abuse treatment on May 25, 2017 and June

8, 2017. Finally, the petition alleged that as of the writing of the petition on July

27, 2017, there was no record of Ms. Demarce making any restitution payments

while on supervision, and that the balance as of filing of the petition was $31,

586.37. (Doc. 109). Judge Morris issued a warrant for her arrest based on the

allegations in the petition. (Doc. 110).

      Initial appearance

      Ms. Demarce was arrested on March 3, 2018. Ms. Demarce appeared before

the undersigned on March 12, 2018, in Great Falls, Montana. Federal Defender

Evangelo Arvanetes accompanied her. Assistant United States Attorney Jared

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Cobell represented the United States.

      Ms. Demarce said she had read the petition and understood the allegations.

She waived the preliminary hearing, and the parties consented to proceed

immediately with the revocation hearing before the undersigned.

      Revocation hearing

      Ms. Demarce admitted that she violated the conditions of her supervised

release as alleged in violations 1 through 4, but denied the allegations in violation

5. The United States did not put on any evidence with respect to violation 5,

therefore the Court finds that the United States has not met its burden with respect

to violation 5. However, the admitted violations are serious and warrant revocation

of her supervised release.

      Ms. Demarce’s violation grade is Grade C, her criminal history category is I,

and her underlying offense is a Class B felony. She could be incarcerated for up to

thirty-six months and could be ordered to remain on supervised release for thirty-

three months, less any custody time imposed. The United States Sentencing

Guidelines call for three to nine months in custody.

      Mr. Arvanetes requested that the sentencing hearing be continued to evaluate

whether Ms. Demarce could be admitted to treatment upon release from custody.

The Court continued the hearing.

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      On April 17, 2018, the Court resumed the revocation hearing. Mr.

Arvanetes was present on behalf of Ms. Demarce, and Mr. Cobell represented the

United States. Mr. Arvanetes informed the Court that Ms. Demarce had been

accepted to Passages upon her release from custody. Ms. Demarce exercised her

right of allocution and stated that she realizes she has a substance abuse problem

and wants inpatient treatment. She recommended a sentence of five months

custody. Mr. Cobell agreed with a sentence of five months custody with the first

two months of supervision to be spent in a treatment facility.

                                   III. Analysis

      Ms. Demarce’s supervised release should be revoked because she admitted

violating its conditions. She should be sentenced to five months of incarceration,

with thirty months of supervised release to follow. In addition, the first two

months of her supervised release should be spent in an inpatient treatment facility

as determined by the Probation Office. This sentence would be sufficient given the

seriousness of the violations but not greater than necessary.

                                  IV. Conclusion

      Ms. Demarce was advised that the above sentence would be recommended

to Judge Morris. The Court reminded her of her right to object to these Findings

and Recommendations within 14 days of their issuance. The undersigned

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explained that Judge Morris would consider her objection, if it is filed within the

allotted time, before making a final determination on whether to revoke her

supervised release and what, if any, sanction to impose. The parties waived their

respective rights of appeal.

      The undersigned FINDS:

             Paige Larann Demarce violated the conditions of her supervised
             release by 1) possessing a controlled substance, 2) using a controlled
             substance, 3) failing to report for substance abuse testing, and 4)
             failing to participate in substance abuse treatment.

      The undersigned RECOMMENDS:

             The District Court should enter the attached Judgment,
             revoking Ms. Demarce’s supervised release and
             committing her to the custody of the United States
             Bureau of Prisons for five months of incarceration, with
             thirty months of supervised release to follow. In
             addition, the first two months of her supervised release
             should be spent in an inpatient treatment facility as
             determined by the Probation Office.

      Dated the 20th day of April, 2017.




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